Case 1:18-cv-00546-RCL Document 25 Filed 08/22/18 Page 1 of 1

lN THE UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF COLUMBIA

THE UTE INDIAN TRIBE OF
THE UINTAH AND OURAY
RESERVATION,

Plaintiff,

THE UNITED STATES OF AMERICA,
et al. ,

Defendants.
~_--_-___________________

MY<)RM mg

This matter is before the Court on Def_endants’ second unopposed motior}\for extension of

)
)
)
)
)
)
v. ) No. 1:18-cv-546
)
)
)
)
)
)

time within which to answer or otherwise respond to the Complaint. Upon consideration of the
motion and for good cause shown, it is hereby ORDERED that

l. The unopposed motion should be and hereby is GRANTED; and

2. Defendants shall submit their Answer or otherwise respond to the Complaint on or

before October l6, 2018.

SO ORDERED.
Date: g Z'ng[ §§FBC` é/‘"M
ROYCE C. LA BERTH

United States Distn`ct Judge

